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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA



  IN RE: FACEBOOK, INC. CONSUMER                    Case No. 18-md-02843-VC

  PRIVACY USER PROFILE LITIGATION
                                                    ORDER RE MOTIONS TO SEAL
                                                    Re: Dkt. No. 1078
  This document relates to: All Actions




       This order adjudicates the motions to seal associated with the briefing on sanctions.

       In the context of a motion for sanctions, parties may file documents under seal so long as

there is “good cause” to keep the documents from the public’s view. Center for Auto Safety v.

Chrysler Group, LLC, 809 F.3d 1092, 1097 (9th Cir. 2016). “For good cause to exist, the party

seeking protection bears the burden of showing specific prejudice or harm will result if no

protective order is granted.” Phillips ex rel. Estates of Byrd v. General Motors Corp., 307 F.3d
1206, 1210–11 (9th Cir. 2002).

       Information From Briefing. At the hearing, Facebook agreed that the briefing on

sanctions should not be filed under seal. See Dkt. No. 1048. Facebook’s requests to seal

information already made public in that briefing are therefore denied. That includes Facebook’s

requests to seal references to the terms “Hive” and “Switchboard,” general descriptions of those

terms, the fact that Facebook preserved 137 Hive tables, and certain general information about

the transition to Graph API v2.

       Names of ADI Consultants and Business Partners. Facebook has not explained why the
names of its ADI consultants should be kept confidential. The good cause standard is not

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satisfied by “generalized allegations of injury to reputation and to [business] relationships.”

Glenmede Trust Co. v. Thompson, 56 F.3d 476, 484 (3d Cir. 1995). Some of this information

also appears to be public knowledge already. The requests to seal the consultants’ names are

denied.

           For largely the same reasons, Facebook has not shown good cause to seal the names of

its business partners, and so those requests are denied as well.

          ADI Memos. Facebook asks to seal in their entirety certain memos prepared by its

consultants in connection with its App Developer Investigation. The names of the investigated

apps and certain general information included in these memos is already part of the public

record. The requests to seal these memos in their entirety are denied. As noted in the chart below,

if Facebook would like seal more specific technical information included in these memos, it

should file a renewed motion proposing narrowly tailored redactions.

          Failure to Highlight Proposed Redactions. For some documents, the parties failed to

highlight the proposed redactions on the versions provisionally filed under seal. The requests to

seal those documents are denied subject to renewal. The parties should refile the documents with

the proposed redactions highlighted.

          Technical Information. Facebook has shown good cause to seal certain highly technical

information related to its data systems, and so those requests are granted.
          Plaintiffs’ Personal Information and Facebook Employees’ Information. The parties have

shown good cause to seal certain personal information like the plaintiffs’ browsing history and

the names and emails of certain Facebook employees. The requests to seal that information are

granted.

          The attached chart adjudicates each specific request.1 Facebook must file the unredacted

documents and any renewed motions to seal by December 12, 2022. Facebook must also file a

1
 The chart does not include documents that were first filed under seal by the plaintiffs as part of
an Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed, and
which Facebook did not subsequently seek to seal permanently. The parties should file
unredacted versions of those documents on the docket by December 12, 2022.


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chart cross-referencing the original ECF docket numbers for each document provisionally filed

under seal with the newly filed unredacted version (or renewed motion to seal). Any renewed

motions should comply with the guidance offered by this order.

       IT IS SO ORDERED.

Dated: December 6, 2022
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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Party        Document Title/            ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description                for Motion   Statement ISO   Sealed Copies
Sealing                                 to Seal      Sealing
Facebook     Plaintiffs’ Exhibit 1 to   Dkt. 873     Dkt. 905        Dkts. 905-5, 905-6         Denied.
             Loeser and Weaver
             Declaration ISO
             Motion for Sanctions
             (“Plaintiffs’ Exhibit”)
Facebook     Plaintiffs’ Exhibit 16     Dkt. 873     Dkt. 905        Dkts. 905-7, 905-8         Denied.
Facebook     Plaintiffs’ Exhibit 17     Dkt. 873     Dkt. 905        Dkts. 905-9, 905-10        Denied.
Facebook     Plaintiffs’ Exhibit 18     Dkt. 873     Dkt. 905        Dkts. 905-11, 905-12       Denied.
Facebook     Plaintiffs’ Exhibit 19     Dkt. 873     Dkt. 905        Dkts. 905-13, 905-14       Denied.
Facebook     Plaintiffs’ Exhibit 23     Dkt. 873     Dkt. 905        Dkts. 905-15, 905-16       Denied.
Facebook     Plaintiffs’ Exhibit 25     Dkt. 873     Dkt. 905        Dkts. 905-17, 905-18       Denied subject to renewal. The
                                                                                                renewed filing should highlight the
                                                                                                proposed redactions.
Facebook     Plaintiffs’ Exhibit 26     Dkt. 873     Dkt. 905        Dkts. 906-1, 906-2         Denied.
Facebook     Plaintiffs’ Exhibit 27     Dkt. 873     Dkt. 905        Dkts. 906-3, 906-4         Denied.
Facebook     Plaintiffs’ Exhibit 31     Dkt. 873     Dkt. 905        Dkts. 906-5, 906-6         Granted.
Facebook     Plaintiffs’ Exhibit 32     Dkt. 873     Dkt. 905        Dkts. 906-7, 906-8         Denied.
Facebook     Plaintiffs’ Exhibit 33     Dkt. 873     Dkt. 905        Dkts. 906-9, 906-10        Denied subject to renewal. The
                                                                                                renewed filing should highlight the
                                                                                                proposed redactions.
Facebook     Plaintiffs’ Exhibit 34     Dkt. 873     Dkt. 905        Dkts. 906-11, 906-12       Denied subject to renewal. The
                                                                                                renewed filing should highlight the
                                                                                                proposed redactions.



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Party        Document Title/          ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion   Statement ISO   Sealed Copies
Sealing                               to Seal      Sealing
Facebook     Plaintiffs’ Exhibit 51   Dkt. 873     Dkt. 905        Dkts. 906-13, 906-14       Denied subject to renewal. The
                                                                                              renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Plaintiffs’ Exhibit 55   Dkt. 873     Dkt. 905        Dkts. 906-15, 906-16       Denied.
Facebook     Plaintiffs’ Exhibit 60   Dkt. 873     Dkt. 905        Dkts. 906-17, 906-18       Granted.
Facebook     Plaintiffs’ Exhibit 61   Dkt. 873     Dkt. 905        Dkts. 906-19, 906-20       Denied.
Facebook     Plaintiffs’ Exhibit 63   Dkt. 873     Dkt. 905        Dkt. 906-21                Denied subject to renewal. The
                                                                                              renewed filing should propose
                                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered in this order.
Facebook     Plaintiffs’ Exhibit 64   Dkt. 873     Dkt. 905        Dkts. 906-22, 906-23       Granted.
Facebook     Plaintiffs’ Exhibit 65   Dkt. 873     Dkt. 905        Dkt. 907-1                 Denied subject to renewal. The
                                                                                              renewed filing should propose
                                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered in this order.
Facebook     Plaintiffs’ Exhibit 66   Dkt. 873     Dkt. 905        Dkt. 907-2                 Denied subject to renewal. The
                                                                                              renewed filing should propose
                                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered in this order.
Facebook     Plaintiffs’ Exhibit 67   Dkt. 873     Dkt. 905        Dkt. 907-3                 Denied subject to renewal. The
                                                                                              renewed filing should propose
                                                                                              narrowly tailored redactions




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Party        Document Title/          ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion   Statement ISO   Sealed Copies
Sealing                               to Seal      Sealing
                                                                                              consistent with the guidance
                                                                                              offered in this order.
Facebook     Plaintiffs’ Exhibit 68   Dkt. 873     Dkt. 905        Dkt. 907-4                 Denied subject to renewal. The
                                                                                              renewed filing should propose
                                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered in this order.
Facebook     Exhibit 7 to Stein      Dkt. 910      N/A             Dkts. 910-3, 910-4         Denied subject to renewal. The
             Declaration ISO                                                                  renewed filing should highlight the
             Facebook’s Opposition                                                            proposed redactions.
             to Motion for Sanctions
             (“Defendant’s
             Exhibit”)
Facebook     Defendant’s Exhibit 8    Dkt. 910     N/A             Dkts. 910-5, 910-6         Granted.
Facebook     Defendant’s Exhibit 9    Dkt. 910     N/A             Dkts. 910-7, 910-8         Denied subject to renewal. The
                                                                                              renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Defendant’s Exhibit 20   Dkt. 910     N/A             Dkts. 910-9, 910-10        Denied subject to renewal. The
                                                                                              renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Defendant’s Exhibit 22   Dkt. 910     N/A             Dkts. 910-11, 910-12       Denied.
Facebook     Defendant’s Exhibit 23   Dkt. 910     N/A             Dkts. 910-13, 910-14       Granted.
Facebook     Defendant’s Exhibit 25   Dkt. 910     N/A             Dkts. 910-15, 910-16       Denied subject to renewal. The
                                                                                              renewed filing should highlight the
                                                                                              proposed redactions.




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Party        Document Title/             ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description                 for Motion   Statement ISO   Sealed Copies
Sealing                                  to Seal      Sealing
Facebook     Defendant’s Exhibit 26      Dkt. 910     N/A             Dkts. 910-17, 910-18       Denied.
Facebook     Defendant’s Exhibit 29      Dkt. 910     N/A             Dkts. 910-19, 910-20       Denied.
Facebook     Defendant’s Exhibit 32      Dkt. 910     N/A             Dkts. 910-21, 910-22       Denied subject to renewal. The
                                                                                                 renewed filing should include a
                                                                                                 version with nothing redacted and
                                                                                                 the proposed redactions
                                                                                                 highlighted.
Facebook     Defendant’s Exhibit 35      Dkt. 910     N/A             Dkts. 910-23, 910-24       Denied.
Facebook     Defendant’s Exhibit 36      Dkt. 910     N/A             Dkts. 910-25, 910-26       Denied.
Facebook     Defendant’s Exhibit 38      Dkt. 910     N/A             Dkts. 910-27, 910-28       Denied.
Facebook     Defendant’s Exhibit 41      Dkt. 910     N/A             Dkts. 910-29, 910-30       Denied subject to renewal. The
                                                                                                 renewed filing should propose
                                                                                                 narrowly tailored redactions
                                                                                                 consistent with the guidance
                                                                                                 offered in this order.
Plaintiffs   Stein Declaration ISO   Dkt. 913         Dkt. 919        Dkts. 913-3, 913-4         Granted.
             Facebook’s Opposition
             to Motion for Sanctions
Plaintiffs   Defendant’s Exhibit 41      Dkt. 913     Dkt. 919        Dkts. 913-5, 913-6         Granted.
Plaintiffs   Defendant’s Exhibit 43      Dkt. 913     Dkt. 919        Dkt. 913-7                 Granted.
Facebook     Plaintiffs’ Exhibit 73 to   Dkt. 921     Dkt. 927        Dkt. 927-3                 Denied subject to renewal. The
             Weaver and Loeser                                                                   renewed filing should highlight the
             Declaration ISO                                                                     proposed redactions.
             Plaintiffs’ Reply ISO
             Motion for Sanctions



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Party        Document Title/          ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion   Statement ISO   Sealed Copies
Sealing                               to Seal      Sealing
             (“Plaintiffs’ Reply
             Exhibit”)
Facebook     Plaintiffs’ Reply        Dkt. 921     Dkt. 927        Dkt. 927-4                 Denied subject to renewal. The
             Exhibit 74                                                                       renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Plaintiffs’ Reply        Dkt. 921     Dkt. 927        Dkt. 927-5                 Denied subject to renewal. The
             Exhibit 86                                                                       renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Plaintiffs’ Reply        Dkt. 921     Dkt. 927        Dkt. 927-6                 Denied subject to renewal. The
             Exhibit 87                                                                       renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Plaintiffs’ Reply        Dkt. 921     Dkt. 927        Dkt. 927-7                 Denied subject to renewal. The
             Exhibit 88                                                                       renewed filing should highlight the
                                                                                              proposed redactions.
Facebook     Special Master’s Order   Dkt. 948     N/A             Dkts. 948-3, 948-4         Granted.
             Following May 17,
             2022 Hearing
             Regarding Production
             of Named Plaintiff
             Data
Facebook     Special Master’s         Dkt. 981     N/A             Dkts. 981-3, 981-4         Denied subject to renewal. The
             Amended Order                                                                    renewed filing should propose
             Regarding Production                                                             narrowly tailored redactions
             of Named Plaintiff                                                               consistent with the guidance
             Data and the Exhibits                                                            offered by this order.
             thereto




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Party        Document Title/             ECF No.      ECF No. for       ECF No. for Redacted and   Decision
Requesting   Description                 for Motion   Statement ISO     Sealed Copies
Sealing                                  to Seal      Sealing
Facebook     Weaver Declaration          Dkt. 988     Dkts. 991, 992,   Dkts. 1012-4, 1013-2       Denied subject to renewal. The
             ISO Plaintiffs’                          1012                                         renewed filing should propose
             Supplemental Brief                                                                    narrowly tailored redactions
             ISO Motion Sanctions                                                                  consistent with the guidance
                                                                                                   offered by this order.
Facebook     Plaintiffs’ Exhibit 90 to   Dkt. 988     Dkts. 991, 992,   Dkt. 988-8                 Denied subject to renewal. The
             the Weaver Declaration                   1012                                         renewed filing should propose
             ISO Plaintiffs’                                                                       narrowly tailored redactions
             Supplemental Brief                                                                    consistent with the guidance
             ISO Motion for                                                                        offered by this order.
             Sanctions (“Plaintiffs’
             Supplemental Exhibit”)
Facebook     Plaintiffs’                 Dkt. 988     Dkts. 991, 992,   Dkt. 988-9                 Denied subject to renewal. The
             Supplemental Exhibit                     1012                                         renewed filing should propose
             91                                                                                    narrowly tailored redactions
                                                                                                   consistent with the guidance
                                                                                                   offered by this order.
Facebook     Plaintiffs’                 Dkt. 988     Dkts. 991, 992,   Dkt. 988-10                Denied subject to renewal. The
             Supplemental Exhibit                     1012                                         renewed filing should propose
             92                                                                                    narrowly tailored redactions
                                                                                                   consistent with the guidance
                                                                                                   offered by this order.
Facebook     Plaintiffs’                 Dkt. 988     Dkts. 991, 992,   Dkt. 988-11                Denied subject to renewal. The
             Supplemental Exhibit                     1012                                         renewed filing should propose
             93                                                                                    narrowly tailored redactions
                                                                                                   consistent with the guidance
                                                                                                   offered by this order.




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Party        Document Title/        ECF No.      ECF No. for       ECF No. for Redacted and   Decision
Requesting   Description            for Motion   Statement ISO     Sealed Copies
Sealing                             to Seal      Sealing
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-12                Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             94                                                                               narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-5, 992-3         Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             95                                                                               narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-6, 992-4         Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             96                                                                               narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-7, 992-5         Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             97                                                                               narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-5, 1013-3       Granted.
             Supplemental Exhibit                1012
             98
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-6, 1013-4       Granted.
             Supplemental Exhibit                1012
             102




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Party        Document Title/        ECF No.      ECF No. for       ECF No. for Redacted and   Decision
Requesting   Description            for Motion   Statement ISO     Sealed Copies
Sealing                             to Seal      Sealing
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-7, 1013-5       Granted.
             Supplemental Exhibit                1012
             103
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-8, 1013-6       Granted.
             Supplemental Exhibit                1012
             104
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-8, 992-6         Denied.
             Supplemental Exhibit                1012
             105
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-9, 992-7         Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             106                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-10, 992-8        Denied.
             Supplemental Exhibit                1012
             109
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-9, 1013-7       Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             112                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-31                Granted.
             Supplemental Exhibit                1012
             114




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Party        Document Title/        ECF No.      ECF No. for       ECF No. for Redacted and   Decision
Requesting   Description            for Motion   Statement ISO     Sealed Copies
Sealing                             to Seal      Sealing
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-11, 992-9        Granted.
             Supplemental Exhibit                1012
             115
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-12, 992-10       Granted.
             Supplemental Exhibit                1012
             117
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-10, 1013-8      Granted.
             Supplemental Exhibit                1012
             119
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-38                Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             121                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-39                Granted.
             Supplemental Exhibit                1012
             122
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-11, 1013-9      Granted.
             Supplemental Exhibit                1012
             123
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts 1012-12, 1013-10      Granted.
             Supplemental Exhibit                1012                                         .
             124
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts 1012-13, 1013-11      Denied.
             Supplemental Exhibit                1012
             125



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Party        Document Title/        ECF No.      ECF No. for       ECF No. for Redacted and   Decision
Requesting   Description            for Motion   Statement ISO     Sealed Copies
Sealing                             to Seal      Sealing
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts 1012-14, 1013-12      Denied.
             Supplemental Exhibit                1012
             129
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-47                Granted.
             Supplemental Exhibit                1012
             130
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-48                Granted.
             Supplemental Exhibit                1012
             131
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-49                Granted.
             Supplemental Exhibit                1012
             132
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-50                Granted.
             Supplemental Exhibit                1012
             133
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkt. 988-51                Granted.
             Supplemental Exhibit                1012
             134
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 991-13, 992-11       Granted.
             Supplemental Exhibit                1012
             137
Facebook     Plaintiffs’            Dkt. 988     Dkts. 991, 992,   Dkts. 1012-15, 1013-13     Denied subject to renewal. The
             Supplemental Exhibit                1012                                         renewed filing should propose
             139                                                                              narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.



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Party        Document Title/           ECF No.       ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description               for Motion    Statement ISO   Sealed Copies
Sealing                                to Seal       Sealing
Facebook     Corrected Weaver          Dkt. 1007     Dkt. 1037       Dkts. 1037-5, 1037-6       Denied subject to renewal. The
             Declaration ISO                                                                    renewed filing should propose
             Plaintiffs’                                                                        narrowly tailored redactions
             Supplemental Brief                                                                 consistent with the guidance
             ISO Motion for                                                                     offered by this order.
             Sanctions
Facebook     Plaintiffs’ Exhibit 5     Dkts. 934,    Dkts. 938,      Dkts. 1038-3, 1038-11      Denied.
             (Hendrix Dep. Tr.)        1005          1038, 1046
Facebook     Plaintiffs’ Exhibit 31    Dkt. 1001     Dkts. 1038,     Dkts. 1046-3, 1046-4       Granted.
             (Papamiltiadis Dep.                     1046
             Tr.)
Facebook     Plaintiffs’ Exhibit 95    Dkt. 1001     Dkts. 1038,     Dkts. 1038-5, 1038-13      Denied subject to renewal. The
             (Duffey Dep. Tr.)                       1046                                       renewed filing should propose
                                                                                                narrowly tailored redactions
                                                                                                consistent with the guidance
                                                                                                offered by this order.
Facebook     Plaintiffs’ Exhibit 98    Dkt. 1001     Dkts. 1038,     Dkts. 1038-6, 1038-14      Granted.
             (Leone Dep. Tr.)                        1046
Facebook     Plaintiffs’ Exhibit 103   Dkt. 1001     Dkts. 1038,     Dkts. 1038-7, 1038-15      Granted.
             (Clark Dep. Tr.)                        1046

Facebook     Plaintiffs’ Exhibit 105   Dkts. 1001,   Dkts. 1038,     Dkts. 1038-8, 1038-16,     Denied subject to renewal. The
             (Cross Dep. Tr.)          1067, 1070    1046, 1074      1074-7, 1074-8             renewed filing should propose
                                                                                                narrowly tailored redactions
                                                                                                consistent with the guidance
                                                                                                offered by this order.




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Party        Document Title/           ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description               for Motion   Statement ISO   Sealed Copies
Sealing                                to Seal      Sealing
Facebook     Plaintiffs’ Exhibit 106   Dkt. 1001    Dkts. 1038,     Dkts. 1038-9, 1038-17      Denied subject to renewal. The
             (Chang Dep. Tr.)                       1046                                       renewed filing should propose
                                                                                               narrowly tailored redactions
                                                                                               consistent with the guidance
                                                                                               offered by this order.
Facebook     Plaintiffs’ Exhibit 116   Dkt. 1001    Dkts. 1038,     Dkts. 1038-10, 1038-18     Granted.
             (Lee Dep. Tr.)                         1046
Facebook     Plaintiffs’ Exhibit 140   Dkt. 1007    Dkt. 1041       Dkts. 1041-3, 1042-1       Granted.
Facebook     Plaintiffs’ Exhibit 141   Dkt. 1007    Dkt. 1041       Dkts. 1041-4, 1042-2       Granted.
Facebook     Plaintiffs’ Exhibit 142   Dkt. 1007    Dkt. 1041       Dkts. 1041-5, 1042-3       Granted.
Facebook     Special Master’s         Dkts. 1010,   N/A             Dkts. 1036-3, 1036-4       Granted.
             August 19, 2022 Order 1036
             Regarding Plaintiffs’
             Request for Leave to
             Move for
             Reconsideration of
             Order Re: Motion to
             Compel Production of
             Documents Related to
             Protiviti Assessment
             and the Exhibits thereto
Facebook     Richardson Declaration Dkt. 1016       N/A             Dkts. 1016-4, 1017-2       Denied subject to renewal. The
             ISO Facebook, Inc.,                                                               renewed filing should propose
             Gibson, Dunn &                                                                    narrowly tailored redactions
             Crutcher LLP, and Orin                                                            consistent with the guidance
             Snyder’s Supplemental                                                             offered by this order.
             Brief in Opposition to



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Party        Document Title/          ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion   Statement ISO   Sealed Copies
Sealing                               to Seal      Sealing
             Plaintiffs’ Motion for
             Sanctions
Facebook     Exhibit 53 to the      Dkt. 1016      N/A             Dkts. 1016-5, 1017-3       Granted.
             Richardson Declaration
             ISO Facebook, Inc.,
             Gibson, Dunn &
             Crutcher LLP, and Orin
             Snyder’s Supplemental
             Brief in Opposition to
             Plaintiffs’ Motion for
             Sanction (“Defendant’s
             Supplemental Exhibit”)
Facebook     Defendant’s              Dkt. 1016    N/A             Dkts. 1016-6, 1017-4       Denied subject to renewal. The
             Supplemental Exhibit                                                             renewed filing should propose
             56                                                                               narrowly tailored redactions
                                                                                              consistent with the guidance
                                                                                              offered by this order.
Facebook     Defendant’s              Dkt. 1016    N/A             Dkts. 1016-7, 1017-5       Denied.
             Supplemental Exhibit
             61
Facebook     Defendant’s              Dkt. 1016    N/A             Dkts. 1016-8, 1017-6       Granted.
             Supplemental Exhibit
             63
Facebook     Defendant’s              Dkt. 1016    N/A             Dkts. 1016-9, 1017-7       Denied subject to renewal. The
             Supplemental Exhibit                                                             renewed filing should propose
             64                                                                               narrowly tailored redactions




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Party        Document Title/        ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description            for Motion   Statement ISO   Sealed Copies
Sealing                             to Seal      Sealing
                                                                                            consistent with the guidance
                                                                                            offered by this order.
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-10, 1017-8      Granted.
             Supplemental Exhibit
             66
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-11, 1017-9      Denied subject to renewal. The
             Supplemental Exhibit                                                           renewed filing should propose
             68                                                                             narrowly tailored redactions
                                                                                            consistent with the guidance
                                                                                            offered by this order.
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-12, 1017-10     Denied.
             Supplemental Exhibit
             69
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-13, 1017-11     Granted.
             Supplemental Exhibit
             70
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-14, 1017-12     Denied subject to renewal. The
             Supplemental Exhibit                                                           renewed filing should propose
             73                                                                             narrowly tailored redactions
                                                                                            consistent with the guidance
                                                                                            offered by this order.
Facebook     Defendant’s            Dkt. 1016    N/A             Dkts. 1016-15, 1017-13     Denied.
             Supplemental Exhibit
             82
Facebook     Exhibit C to Special   Dkt. 1026    Dkt. 1044       Dkts. 1044-3, 1044-4       Denied subject to renewal. The
             Master’s Amended                                                               renewed filing should propose
             Order on Plaintiffs’                                                           narrowly tailored redactions


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Party        Document Title/          ECF No.      ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion   Statement ISO   Sealed Copies
Sealing                               to Seal      Sealing
             Motion for Additional                                                            consistent with the guidance
             Time to Conduct Rule                                                             offered by this order.
             30(b)(6) Depositions
Facebook     Exhibit A to Special     Dkt. 1030    Dkt. 1044       Dkts. 1044-5, 1044-6       Granted.
             Master’s Second
             Amended Order on
             Plaintiffs’ Motion to
             Compel Additional
             Production of Quips,
             Tasks, and Groups
Facebook     Exhibit B to Special     Dkt. 1030    Dkt. 1044       Dkts. 1044-7, 1044-8       Granted.
             Master’s Second
             Amended Order on
             Plaintiffs’ Motion to
             Compel Additional
             Production of Quips,
             Tasks, and Groups
Facebook     Exhibit G to Special     Dkt. 1030    Dkt. 1044       Dkts. 1044-9, 1044-10      Denied.
             Master’s Second
             Amended Order on
             Plaintiffs’ Motion to
             Compel Additional
             Production of Quips,
             Tasks, and Groups
Facebook     Special Master’s Order   Dkt. 1032    Dkt. 1043       Dkts. 1043-3, 1043-4       Denied subject to renewal. The
             Regarding Facebook’s                                                             renewed filing should propose
             Objections to 30(b)(6)                                                           narrowly tailored redactions
             Written Questions



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Party        Document Title/          ECF No.       ECF No. for     ECF No. for Redacted and   Decision
Requesting   Description              for Motion    Statement ISO   Sealed Copies
Sealing                               to Seal       Sealing
                                                                                               consistent with the guidance
                                                                                               offered by this order.
Facebook     Exhibit A to Special     Dkt. 1032     Dkt. 1044       Dkts. 1044-11, 1044-12     Granted.
             Master’s Order
             Regarding Facebook’s
             Objections to 30(b)(6)
             Written Questions
Facebook     Exhibit B to Special     Dkt. 1032     Dkt. 1044       Dkts. 1044-13, 1044-14     Granted.
             Master’s Order
             Regarding Facebook’s
             Objections to 30(b)(6)
             Written Questions
Facebook     Miller Dep. Tr.          Dkts. 1067,   Dkt. 1074       Dkts. 1074-3, 1074-4       Granted.
                                      1070
Facebook     Fahey Dep. Tr.           Dkts. 1067,   Dkt. 1074       Dkts. 1074-5, 1074-6       Granted.
                                      1070




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